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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MASSACHUSETTS

  STATE OF CALIFORNIA, et al.,

                             Plaintiff,

  v.                                             Civil Action No. 25-10548-MJJ

  U.S. DEP’T OF EDUCATION, et al.,


                             Defendants.



MEMORANDUM IN SUPPORT OF DEFENDANTS’ EMERGENCY MOTION
               FOR STAY PENDING APPEAL
       Defendants respectfully seek an emergency stay pending appeal of the Court’s

ruling of March 10. The Court ordered Defendants to rescind, within 24 hours, the

terminations of grants worth hundreds of millions of dollars. Defendants have done

so, in compliance with the order. But taking that step means grantees can draw down

the remaining grant funds immediately—and once those funds are taken and spent,

Defendants will have little to no recourse to recover them, even if they prevail in this

litigation. And, respectfully, Defendants are very likely to prevail. Beyond the
jurisdictional and legal arguments that Defendants presented orally, this Court’s

order is premised on a basic and demonstrable factual error. While the Court believed

that the terminations at issue were determined without individualized consideration,

the reality is that each grant was reviewed on its own terms, and the Secretary and

her senior staff engaged in grant-by-grant consideration that resulted in termination

of most—but not all—of the current grants under the relevant programs. That fact

undercuts the premise of the Court’s Administrative Procedure Act (APA) holding,

which was the sole ground for the finding that Plaintiffs were likely to succeed on the

merits.

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      In short, after waiting weeks before filing suit, Plaintiffs induced the Court to

issue a highly expedited ruling, without the benefit of a written response from the

government, and that ruling rests on a core factual error (in addition to other errors

of law). Yet, by virtue of that ruling, grantees now have immediate access to tens of

millions of dollars to spend on grants that the Secretary of Education has determined

are at war with her policy goals and priorities. Under these circumstances, the Court

should stay its ruling pending appeal, and allow for these important issues to be aired

and adjudicated in a more orderly fashion.

                                  BACKGROUND

      Plaintiff States (California, Massachusetts, New Jersey, Colorado, Illinois,

Maryland, New York, and Wisconsin) filed suit against Secretary of Education Linda

McMahon and former Acting Secretary of Education Denise Carter, in their official

capacities, and the U.S. Department of Education (“Department”). Plaintiffs allege

that, starting on February 7, 2025, the Department unlawfully terminated grants

awarded under the Teacher Quality Partnership (“TQP”) Program and Supporting

Effective Educator Development (“SEED”) Grant Program in violation of the APA.

      On the same day they filed their Complaint, Plaintiffs moved for a temporary

restraining order, ECF 2. The Court did not invite Defendants to submit a response

but instead set a hearing for March 10, 2025, and granted relief later that day,

ordering Defendants to undo the termination of any previously-awarded grants for

recipients located in the Plaintiff States, and to refrain from terminating those grants

or suspending or withholding any funds under the grants. ECF 41.

      Defendants have complied, as indicated in last night’s status report, but also

have appealed the Court’s order and are requesting an emergency stay pending

appeal from the First Circuit. Defendants now also respectfully move the Court to

stay its TRO order pending appeal. See Fed. R. App. Proc. 8(a).



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                                     ARGUMENT

      This Court should stay its order because Defendants are likely to succeed on

appeal and will face irreparable harm absent a stay—whereas a short delay in

accessing grant funds will not irreparably harm Plaintiffs, who waited approximately

a month before bothering to sue. “[T]he factors regulating the issuance of a stay are

. . . (1) whether the stay applicant has made a strong showing that he is likely to

succeed on the merits; (2) whether the applicant will be irreparably injured absent a

stay; (3) whether issuance of the stay will substantially injure the other parties

interested in the proceeding; and (4) where the public interest lies.” Hilton v.

Braunskill, 481 U.S. 770, 776 (1987). Here, each of the factors favor a stay.

      A. Likelihood of Success on the Merits. This Court’s order concluded that

Plaintiffs were likely to succeed in the APA claims because the terminations did not

reflect sufficiently individualized consideration. But even setting aside all of the legal

hurdles to those claims, the factual premise is simply false. The Department of

Education conducted a particularized review of TQP and SEED grants; as part of that

review, over the course of a week, seven personnel “reviewed applications to

determine whether they included objectionable material associated with DEI, such

as cultural responsiveness, systemic privilege, racial justice, social justice, and anti-

racism.” Oglesby Decl. ¶¶ 6-9. Consistent with its broad authority to determine

whether an “award no longer effectuates the program goals or agency priorities” (2

C.F.R. § 200.340), the “Department determined that the programs at issue here

incorporated DEI, reviewed the terms and conditions of the grants at issue to ensure

they permitted termination, and concluded that funding for these grants must cease

based on the Acting Secretary’s Directive.” Oglesby Decl. ¶ 19. The Department is

empowered to determine how to allocate the funds that Congress appropriated for

these programs, and the Department permissibly determined—on an individualized

basis—that the terminated grants were not consistent with its policy goals.

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      The Court’s assertion that the Department’s review was categorical is thus

incorrect. Had the Government been afforded more time to respond to Plaintiffs’

motion—again, a motion they filed weeks after the grants were terminated—then it

would have submitted this information. With these facts now in the record, however,

it is impossible to deny that Defendants are likely to prevail on appeal.

      And again, that is taking the Court’s reasoning on its own terms. There are

also, respectfully, significant errors in the APA framework and analysis.

      First, it was fundamental error to subject the Department’s termination

decisions to arbitrary-and-capricious review at all, because such decisions are

committed to agency discretion by law and constrained only by the terms of the

operative statutes, regulations, and funding instruments.

      In Lincoln v. Vigil, 508 U.S. 182 (1993), the Supreme Court held that the

Indian Health Service’s decision to discontinue a program it had previously funded,

and to instead reallocate those funds to other programs, was committed to agency

discretion by law and thus not reviewable under the APA’s reasoned decisionmaking

standards. See id. at 185-88. The “allocation of funds” is an “administrative decision

traditionally regarded as committed to agency discretion,” because the “very point of

a lump-sum appropriation is to give an agency the capacity to adapt to changing

circumstances and meet its statutory responsibilities in what it sees as the most

effective or desirable way.” Id. at 192. Such an allocation, “requires ‘a complicated

balancing of a number of factors which are peculiarly within [the agency’s] expertise’:

whether its ‘resources are best spent’ on one program or another; whether it ‘is likely

to succeed’ in fulfilling its statutory mandate; whether a particular program ‘best fits

the agency’s overall policies’; and, ‘indeed, whether the agency has enough resources’

to fund a program ‘at all.’” Id. at 193. So long as the agency abides by the relevant

statutes (and whatever obligations it may impose on itself through regulation or the

relevant grant instrument), the APA “gives the courts no leave to intrude.” Id.

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      Lincoln itself addressed lump-sum appropriations, but courts agree that its

logic extends to funding programs that leave to the agency “the decision about how

the moneys” for a particular program “could best be distributed consistent with” the

statute. Milk Train, Inc. v. Veneman, 310 F.3d 747, 751 (D.C. Cir. 2002). Such

decisions, too, “clearly require[] a complicate balancing of a number of factors which

are peculiarly within [the agency’s] expertise.” Id. at 752; see also Policy & Res., LLC

v. U.S. Dep’t of Health & Human Servs., 313 F. Supp. 3d 62, 75-76 (D.D.C. 2018).

      The programs at issue in this case confer on the Secretary significant discretion

in determining how best to allocate appropriated funds across grant applicants to

best advance the purposes of the programs. The statute governing TQP grants

provides simply that “the Secretary is authorized to award grants, on a competitive

basis, to eligible partnerships, to enable the eligible partnerships to carry out” certain

activities, including “a program for the preparation of teachers,” a “teaching residency

program,” and “a leadership development program.” 20 U.S.C. § 1022a(a), (c).

Similarly, the SEED grant statute generally directs the Secretary to “award grants,

on a competitive basis, to eligible entities for” five specified “purposes,” such as

“providing evidence-based professional development activities” and “making freely

available services and learning opportunity to local educational agencies.” 20 U.S.C.

§ 6672(a). Nothing about those statutory directions constrains the Secretary’s

discretion to determine how best to allocate the funding for each program among

many different potential grant recipients.

      As a result, the Secretary’s decision to terminate a grant to an individual

recipient is reviewable—at most—only for compliance with the terms of the governing

statutes, regulations, and funding instruments—not APA reasoned decision-making

requirements. Yet this Court’s order did not cite any other law (statutes, regulations,

or grant terms) that would call these terminations into question; it was based solely

on the supposed lack of reasoned decision-making under the APA. That was error.

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       Second, the APA framework was also inapposite because a contract suit like

this could only properly be brought in the Court of Federal Claims under the Tucker

Act, which is the exclusive remedy for certain breach-of-contract actions against the

government. In holding otherwise, the Court failed to grapple with the relevant

principles. The Court held that the “essence” of Plaintiffs’ lawsuit is “not contractual

in nature,” citing Massachusetts v. Nat’l Institutes of Health (NIH), No. 25-cv-10338,

2025 WL 702163 (D. Mass. Mar. 5, 2025), which challenged changes in NIH guidance

for certain cost reimbursements. But NIH dealt with the lawfulness of agency

guidance and sought to vacate it; Plaintiffs here challenge a series of individual grant

terminations and, although they cast their claim for relief in equitable terms, at base

what Plaintiffs demand is access to money. Whatever may have been true of NIH, this

is a breach-of-contract claim masquerading as an APA suit. If Plaintiffs believe the

government has violated terms of their grants, they may have a remedy, but it is not

an APA suit in district court. See, e.g., 28 U.S.C. § 1491(a) (“United States Court of

Federal Claims shall have jurisdiction to render judgment upon any claim against

the United States founded” on “any express or implied contract with the United

States.”).

       Third, even if the APA did apply, the Court erred by finding that Plaintiffs

were likely to succeed on their claims. The standard for arbitrary and capricious

action is high. To survive review, the agency’s explanation need only be sufficient

such that its “path may reasonably be discerned.” Bowman Transp., Inc. v. Arkansas–

Best Freight System, Inc., 419 U.S. 281, 286, 95 S.Ct. 438, 42 L.Ed.2d 447 (1974). See

also Motor Vehicle Mfrs. Assn. of United States, Inc. v. State Farm Mut. Automobile

Ins. Co., 463 U.S. 29, 43 (1983). That standard is readily satisfied here. After an

individualized evaluation of TQP and SEED grants, the Department determined

which grants were not in the best interests of the United States and used a template

response to communicate its position. All of the grants it identified for termination

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shared a common characteristic, so the Department appropriately used a common

response. This is not arbitrary and capricious; it is efficient and sensible.

      The Court also faulted the government for its significant change in views on

the merits of these grants. But new administrations always have new policy

objectives. The Acting Secretary issued a public Directive on Department Grant

Priorities on February 5, 2025. Oglesby Decl. ¶ 5. There were no secrets here. Anyone

paying attention would know that the Department was no longer interested in using

grant programs to fund DEI education. The Department’s review followed the Acting

Secretary’s Directive, and the termination letters cited the Department’s new

priorities going forward.    Id. ¶¶ 22-23. The explanation was transparent and

reasonable, not obscure or irrational.

      Finally, even setting aside all of the above, the Court’s order—issued mere

days after the lawsuit was filed—was dramatically overbroad. If the Court’s concern

stemmed from the lack of individual consideration or sufficient explanation, it should

have remanded to the agency for additional consideration, nor ordered the restoration

of terminated grants.

      Balance of Equities. The balance of equities tips decisively in Defendants’

favor, for one simple reason. This case is about money. If the status quo is preserved

and the money is held by Defendants during the pendency of the case, the grantees

can still obtain and use it at the end of the case. But the opposite is not true—if the

grantees are given access now, and draw down the funds, Defendants will be left with

no meaningful recourse even if they prevail in the litigation. Grant funds go out to

recipients within 1-3 days of being requested. Oglesby Decl. ¶ 30. Once that occurs,

the Department lacks reliable ways to recoup it. Id. ¶ 36. And by virtue of this Court’s

order, the grantees have the incentive to draw down and spend as much of the

remaining $65 million as quickly as possible. That perverse outcome reinforces that

the balance of the equities favors a true “freeze” of the status quo—meaning the

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Department continues to hold the funds pending the litigation. (Defendants are

willing to stipulate not to re-obligate the funds to other uses in the meantime.)

      As a result of the Court’s order, the Executive Branch is not able to exercise its

authorities to superintend federal dollars—and, indeed, has no ability to control the

use of federal dollars for purposes that the Executive Branch opposes. The Court’s

assertion that the government would suffer no harm because it was only spending

money Congress appropriated ignores the Department’s discretion to choose how to

allocate those funds. Congress did not pick the grantees; the prior Administration

did. The new Administration is entitled to the same prerogatives.

      At minimum, the Court should have imposed a bond requirement to safeguard

the funds in the event that the Department prevails on appeal. See Fed. R. Civ. Proc.

65(c). The Court erred in failing to do so.

                             *                *            *

      For these reasons, the Court should grant a stay of its order pending resolution

of Defendants’ appeal.

Dated: March 12, 2025                             Respectfully submitted,

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                                               /s/ Michael L. Fitzgerald
                                               MICHAEL L. FITZGERALD
                                               Assistant U.S. Attorney

Dated: March 12, 2025




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